                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


The ESTATE of SYLVILLE K. SMITH, by
Personal Representative Mildred Haynes,
Patrick Smith, and Mildred Haynes, on
her own behalf,

                    Plaintiffs,

      v.                                               Case No. 17-C-862

CITY OF MILWAUKEE, WISCONSIN and
DOMINIQUE HEAGGAN-BROWN,

                    Defendants.


                                         ORDER

      IT IS ORDERED that a telephonic status conference will be held on October 29,

2019 at 11:30 a.m. The court will initiate the call. Counsel must email the court prior to

the call at AdelmanPO@wied.uscourts.gov to provide contact information.

      Dated at Milwaukee, Wisconsin, this 23rd day October, 2019.


                                                s/Lynn Adelman
                                                LYNN ADELMAN
                                                District Judge




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